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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------------X   Case No.: 21-CV-00612 (JGK)
 SCHEREZADE MOMIN,

                                    Plaintiff,

                  - against -                                                 NOTICE OF APPEAL

 QUANTIERRA ADVISORS LLC. dba
 SCIPRE ANALYTICS,
 BENJAMIN CARLOS THYPIN, Individually, and
 SANDIP TRIVEDI, Individually,

                                      Defendants.
 -------------------------------------------------------------------------X

        NOTICE IS HEREBY GIVEN THAT, Plaintiff-Appellant Scherezade Momin hereby

appeals to the United States Court of Appeals for the Second Circuit from each and every part of

the final judgment entered in this action on the 7th day of June, 2022, which granted Defendants’

motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6).

                                                                  Respectfully submitted,

                                                                  THE LAW OFFICE OF YURIY MOSHES, P.C.



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